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Schedute to Schedule

Banc of America Leasing & Capital, LLC Master Lease Agreement Number 004

This Schedule ("Schedule*), dated as of November 17, 2016. between Banc of America Leasing & Capltaf, LLC (‘Lossor’}
and Art Van Furniture, Inc. ("Lessee") is executed pursuant to Master Lease Agreement Number 31691-99000 dated August
26, 2016 (the “Master Lease’), which is incorporated into this Schedule by this reference. Unless otherwise defined in this
Schedule, capitalized terms used in this Schedule have the respective meanings assigned to such terms in the Master Lease. If
any provision of this Schedule conflicts with any provision of the Master Lease, the provisions contained in this Schedule shall
prevail. Lessee hereby authonzes Lessor to insert the serial numbers and other identification data of the Equipment, dates, and
other omitted factual matters or descriptions in this Schedule.

1. Description of Equipment; Location. The Equipment subject to this Schedule, which has a cost to Lessor in tha aggregate
of $790,020.00, which may include taxes, shipping, installation and other related expenses, if any (collectively “Laessor’s Cost’),
are as follows: See Exhibit A attached hereto and made a part hereof .

Location of Equipment. The Equipment will be located or (in the case of over-the-road vehicles} based at the following
locations:

Location Address City. County. State ZIP
A 6500 East 14 Mile Road Warren Macomb MI 48092

2. Acceptance. Lessee acknowledges and represents that the Equipment (a} has been delivered to, received and inspected
by Lessee. (b) is in good operating order, repair, condition and appearance, (c) is of the manufacture. design and capacity
selected by Lessee and is suitable for the purposes for which the Equipment is leased. and is acceptable and satisfactory to
Lessee, (d} do not require any additions or modifications to make them suitable for use, other than ancillary modifications or
additions normally made by lessees of similar assets, and are available for use and lease by Lessee and Lessor, and (e} have
been imevocably accepted as “Equipment” leased by Lessee under this Schedule as of the date written below (the "Acceptance
Date’). Lessee hereby authorizes and directs Lessor to reimburse Lessee or pay Vendors for the purchase price of the
Equipment in accordance with Vendors’ invoices therefor, receipt and approval of which are hereby reaffirmed by Lessee.

3. Lease Term. The onginal Lease Term for the Lease of Equipment under this Schedule consists of: (i) an “Interim Term’ (if
any) beginning on the Acceptance Date, and continuing through and including the day preceding the Base Date: and (ii) a
*Base Term’ of sixty (60) months, beginning on November 28, 2016 (the "Base Date’).

4, Rent. Rent payable under this Schedule consists of: {i) “tnterim Rent", which shall be due Lessor for each day of the
Interim Term and equal the daily equivalent of the initial Base Rent, and payable on the Base Date: and (ii) “Base Rent’, which
shall be payable in arrears in sixty (60) consecutive monthly installments of $9,219.94 each, or as sel forth in the Schedule of
Base Rent installments attached hereto, with the first Base Rent installment being payable thirty (30) days following the Base
Date and the remaining Base Rent installments being payable on the 28th day of each succeeding month.

5. Tax Exemption; Personal Property Taxes. Lessor will invoice Lessee for all sales and use taxes as and when due and
payable in accordance with applicable law, unless Lessee timely delivers to Lessor a valid exemption certificate with respect to
such taxes. Delivery of such certificate sha!l constitute Lessee’s representation and warranty that no such taxes shall become due
and payable with respect to the Equipment, and Lessee shall indemnify and hold harmless Lessor from and against any and all
liability or damages, inctuding tate charges and interest which Lessor may incur by reason of the assessment of such taxes.
Notwithstanding any provision to the contrary in this Lease, Lessor shall file directly with all appropriate taxing authorities afl
declarations, returns, inventones and other documentation with respect to any personal property taxes due or to become due with
respect to the Equipment ("Taxes") and shail pay on or before the date when due all such Taxes assessed, billed or otherwise
payable with respect to such Equipment directly to such taxing authorities. Lessee shall indemnify and, upon demand, reimburse
Lessor for all Taxes paid by Lessor. The indemnity. covenants and reimbursement obligations set forth herein shall continue in full
force and effect and shall survive the expiration or earlier termination of this Lease.

6. Tax Matters. Lessee represents, warrants and agrees that (i) Lessee will not claim thal Lessee is the owner of the
Equipment or that Lessee is otherwise entitled to all or any of the Tax Benefits: (ii) the Equipment will not require any
improvements, modifications, or additions (other than ancillary or incidental items of removable equipment) in order to be
rendered complete for its intended use by Lessee; (iif) the Equipment will not constitute “limited use property” within the
meaning of Rev. Proc. 2001-28: (iv) during the Lease Term, Lessor shall not be required to include in its gross income for
federal income tax purposes (1) any amount derived from the cost of any alteration, addition, improvement, modification,

Lease Schedule (standard FMV) 4.1.08 Page 1 of 3

 
 

 

Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 2 of 7

replacement}, or substitution of the Equipment or from any refund or credit from the Vendor of the Equipment or (2) any foreign
source income under Section 863 of the Code: (v) the Equipment will not constitute “public utility property” or “tax-exempt use
property” within the meaning of Sections 168(i)(10) or 168(h) of the Code: and (vi) the Equipment constitutes “quatified property’
eligible for the additional “bonus depreciation” deduction allowance described in Section 168(k) of the Intemal Revenue Code of
1986, as amended, and Lessee acknowledges that Lessor has assumed such eligibility in reliance upon the foregoing
representation and warranty of Lessee. The definition of “Tax Benefits’ set forth in Section 7(c) of the Master Lease is hereby
amended to include such allowance, and any loss, disallowance, recapture or delay in claiming of such allowance shail constitute a
“Tax Loss’ as defined therein.

7. Further Representations and Agreements. Lessee represents, warrants and agrees as folfows: (a) all representations and
warranties of Lessee contained in the Master Lease are restated as of the Acceptance Date and are te and correct as of such
date; (b) there has been no materia! adverse change in the operations, business, properties or condition, financial or otherwise,
of Lessee or any Guarantor since the date of the most recent financial statements provided pursuant to the Master Lease: (c)
there exists no Default or Event of Default as of the Acceplance Date, and (d) the operation and maintenance of any Equipment
in the ordinary course by Lessee does not require the entry into any software or other intellectual property rights agreement with
any licensor or other person, except as disclosed to Lessor in writing prior to the Acceptance Date.

8, Lease Options.

Extension; Purchase Options. Provided no Event of Default has occurred and remains uncured, and upon Lessee having
provided Lessor with written notice not more than 360 days or less than 90 days prior to expiration of the Lease Term, Lessee
may irrevocably elect to:

(i) extend the Lease Term as to all and not less than all of the Equipment under this Schedule for a renewal period to be
agreed upon by Lessee and Lessor for an amount equal to the then fair market rental value of the Equipment, as
determined by Lessor, plus applicable taxes, payable monthly by Lessee to Lessor on the first day of each month during
the extension term, or

(ii) purchase all of Lessor’s right, title and interest in and to all, but not less than all, of the Equipment under this Schedule.
free from all liens and encumbrances created by Lessor, but otherwise on an “AS-IS, WHERE-IS,” quitclaim basis, for a
purchase price equal to: the then fair market value of the Equipment, as reasonably determined by Lessor: plus all Base
Rent installments, tate charges and other amounts then due and owing under the Lease: plus all applicable taxes,
assessments and other charges due or payable in connection with the sale of the Equipment (collectively. the "Purchase
Price’). Lessee shall pay Lessor the Purchase Pnce on or before the expiration of the Base Term in immediately
available funds.

As used herein, "fair market value” means the amount which would be obtained in an arm’s-length transaction between an
informed and willing buyer-user (other than a buyer-user currently in possession or a used equipment or scrap dealer) and an
informed and willing seller, each under no compulsion to buy or sell, and "fair market rental value” means the amount which would
be obtained in an arm’s-length transaction between an informed and willing lessee (other than a lessee currently in possession) and
an informed and willing lessor, each under no compulsion to lease: provided, however. that in each such determination (a) the
costs of removal of any Equipment from the location of current use shall not be a deduction from such value, (b) it shall be assumed
(whether or not the same be true) that the Equipment has been maintained and would have been retumed to Lessor in compliance
with the requirements of this Lease, and (c) if any Equipment has been attached to or installed on or in any other property leased or
owned by Lessee, the value for such Equipment shall be determined on an installed basis, in place and in use.

9. Registration; Special California Regulatory Notice.
(A) Registration:
(i) Allitems of Equipment that are motor vehicles shall at all times be registered and titled as follows:
(a) Registered Owner. Bane of America Leasing & Capital, LLC (Lessor)
cfo Act Van Furniture. inc. (Lessee)

6500 East 14 Mile Road
Warten, MI 48092

(b) Lienholder. Banc of America Leasing & Capital, LLC
2059 Northlake Parkway, 3rd Floor
Tucker, GA 30084

Lease Schedule (standard FMV) 4.1.06 Page 2 of 3

 
 

 

Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 3 of 7

(ii) Lessee shall be responsible for the correct titling of all such items of Equipment. Lessee shall cause the original
certificates of title to be delivered to Lessor for retention in Lessor’s files throughout the term of the Schedule. All costs of
such registration and licensing are for the account of Lessee.

(B) Notice to Lessee Operating Certain Motor Vehicles in California:

As to any Equipment consisting of a heavy-duty tractor and/or box-type trailer, Lessee understands that when using a heavy-
duty tractor to pull a 53-foot or longer box-type trailer on a highway within Califomia, the heavy-duty tractor and box-type trailer
must be compliant with sections 95300 — 95312, title 17, California Code of Regulations, and that it is the responsibility of
Lessee to ensure this heavy-duty tractor and/or box-type trailer is compliant. The regulations may require any Equipment
consisting of a heavy-duty tractor and/or box-type trailer to have low-rolling-resistance tires and aerodynamic technologies that
are U.S. Environmental Protection Agency (U.S. EPA) SmartWay Verified Technologies prior to current or future use in
Catifornia, or may entirely prohibit use of this tractor in California if it is a model year 2011 or tater tractor and is nota U.S. EPA
SmartWay Certified Tractor. The Lease does not prohibit the Lessee from modifying the trailer to be compliant with the cited
regulations.

10. Lessor Tax Disclosure. Lessor has assigned its rights, but not its obligations, to purchase the Equipment to BAL Servicing
Corporation (“BALSC’). In the event that Lessee at any time purchases the Equipment from Lessor, pursuant to a purchase
option set forth in the Lease or otherwise, Lessee is hereby notified that Lessor has assigned to BALSC its rights, but not its
obligations, in the sale of the Equipment to Lessee. This notice is provided in accordance with Internal Revenue Code Section
1031 and related federal income tax authority and does not affect any of Lessee's rights. or Lessor’s obligations, under the
Lease.

 

 

 

BANC OF AMERICA LEASING & CAPITAL, LLC ART VANAURNITURE, INC

xy No NCQ M sy 5 bw Leahy nln
Printed Name: Gail C. Beall Printed wand Gary Van Eslander

Title: Vice President Title: Presiden}

 

 

Acceptance Date: / Leal, LL

Where multiple counterpart onginals of this Schedule have been executed by Lessee and Lessor. only the counterpart marked
“Lessors Copy” shall be deemed chattel paper evidencing the Lease of Equipment subject to this Schedule, and a security interest
in such chattel paper and Lease may be perfected through the transfer and possession of the “Lessors Copy” of such Schedule
only. without the need to transfer possession of the Master Lease, any Related Agreement or any other document executed and
delivered in connection with this Lease.

The terms applicable to the Lease of Equipment subject to this Schedule are supplemented by the following:
Exhibit A: Description of Equipment
Annex |: Schedule of Stipulated Loss Values
Annex II: Supplemental Maintenance and Return Conditions

Lease Schedule (standard FMV} 4.1.06 Page 3 of 3

 
 

 

Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 4of7

Exhibit A
Art Van Furniture, Inc.
31691-90000-004

Vendor: Eastern Michigan Kenworth, Invoice No. 2808 dated 11/17/2016

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Year Make Mode! Body VIN

2017 Kenworth 1270 Tractor 2NKHHM6X3HM165285
2017 Kenworth T1270 Tractor 2NKHHM6X7HM165287
2017 Kenworth 1270 Tractor 2NKHHM6X9HM165288
2017 Kenworth 1270 Tractor 2NKHHM6X0HM165289
2017 Kenworth 1270 Tractor 2NKHHM6X7HM165290
2017 Kenworth 7270 Tractor 2NKHHM6X9HM165291
2017 Kenworth T1270 Tractor 2NKHHM6X0HM165292
2017 Kenworth T1270 Tractor 2NKHHM6X2HM165293
2017 Kenworth 1270 Tractor 2NKHHM6X4HM165294

2017 Kenworth 7270 Tractor 2NKHHM6X6HM165295

Truck Cost
$78,764.00
$78,764.00
$78,764 00
$78,764.00
$78,764.00
$78,764.00
$78,764.00
$78,764.00
$78,764.00
$78,764.00

Grand Total: $787,640.00

Page 1 of 1

Doc/Title
Fee

$238.00
$238.00
$238.00
$238.00
$238.00
$238.00
$238.00
$238.00
$238.00
$238.00

$2,380.00

Total Cost

$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00
$79,002.00

$790,020.00

 
 

 

Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 5 of 7

ANNEX |
TO
SCHEDULE NO. 004
31691-90000
SCHEDULE OF

STEP TEDL Vv ES
Base Rent Stipulated Base Rent Stipulated
Installment Loss Value Instailment Loss Value
Number Percentage Number Percentage
0 103.50000 31 75.45106
1 102.6684 1 32 74,50647
2 101.80102 33 73,55903
3 100,93090 34 72.60967
4 100.05806 35 71.65856
5 99.18234 36 70.70459
6 98.30352 37 69.74869
7 97.42182 38 68.79104
8 96.53702 39 67.83051
9 95.64947 40 66.86711
10 94.75901 41 65.90175
11 93.86544 42 64.93464
12 92.96911 43 63.96556
13 92.06985 44 62.9947 1
14 91.16747 45 62.02097
15 90.26231 46 61.04525
16 89.35436 47 60.06776
17 88.44416 48 59.08737
18 87.53172 49 §8.10498
19 86.61702 50 57.12082
20 85.70007 51 56.13373
21 84.78032 52 §5.14373
22 83.85829 53 54.15597
23 82.93401 54 53.17196
24 §82.00691 55 52.19020
25 81.07752 56 §1.21220
26 80.14587 5? §0.23130
27 79.21139 58 49.25266
28 78.27408 59 48.27778
29 7733486 60 47,.30000

30 76.39392

 
 

 

Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 6 of 7

ANNEX II

10

SCHEDULE NO. 004
31691-90000

SUPPLEMENTAL MAINTENANCE AND RETURN CONDITIONS

MOTOR VEHICLES

In addition to the maintenance and return provisions applicable to all Equipment set (onh in the Master Lease, the following shall upply to the
Equipment subject to the Schedule:

1. The Equipment shall be operated only by appropriately licensed drivers to be selected. employed, controlled and paid by Lessee
and who shall be conclusively presumed to be the agents of Lessee. Such Equipment shall be operated in o sale and reasonable manner so
as (o prevent loss or damage to such Equipment or other propery and injury to third parties, Lessee will, at its sole capense: (2) replace all
parts and tires for such [quipment as specifically provided for herein and supply all gasoline, oil, grease and other items required in the
operation of such Equipment, (b) prior 10 any operation of such Equipment. obtain all titles, registrations, registration plates, permits and
licenses, including all renewals thereof. which are required for the lawful ownership, use and operation of such Equipment; (c) cause such
[:quipment to be titled and registered in the name of Lessor as owner and first and sole lienholder. or in such other manner as Lessor shalt
direct; (d) furnish all original certificates of title. licn registration notices and related documentation to Lesser: and (c} retain all certificates
of registration (and where required by applicable law. a copy of the Lease) in such Equipment. Lessor may furnish Lessee with o limited
power of attomey for the sole and limited purpose of effecting said tiling, registration and licensing.

2, Lessee shall ensure that all Equipment and Equipment operations conform to all applicable local, state, and federal taws, health
and safety guidelines. Upon rectum, the Equipment will be complete and operational with all components as originally supplied ond will
have passed U.S. Department of Transportation ("DOT") or appropriate regulatory agency requirements for operation. If applicable. an
inspection sticker or certificate will be furnished to Lessor verifying compliance with any regulatory requirements, Lessee shall satisfy oll
legal and regulatory conditions necessary for Lessor to sell of Icase the Equipment to a third pany. Lessee will keep all licenses and
operating cenificates required for operation of the Equipment current during the Lease Term.

3. Inadditicn to the provisions of Section 7 of the Mastcr Lease, Lessee will pay when duc. and will indemnify and hold Lessor and
its assigns harmless from and against: (a) any license. tilling. registration or other fees, liabilities, losses, damages, penalties, claims,
actions, suits, cosis and expenses, including tcgal expenses, of every kind and nature whatsoever. imposed on, incurred by, or asserted
against Lessor or its agents. successors and assigns. in any way relating to or arising oul of any power of attomey issued by Lessor to any
person or persons designated by Lessee to apply on behalf of Lessor for applications for the licensing. titling of registration of such
Equipment. or any odometer certification with respect to such Equipment: and (b) all towing charges. parking tolls, fines, parking and
speeding tickets and other civil and criminal motor vehicle violations (and all fines. penalties and interest applicable thereto) with respect to
such Equipment. Lessee shall pay and shall file all returns with respect to all highway usc taxes with respect to the Equipment. unless
olherwise directed in writing by Lessor.

4. Lessee shall. at its expense, at all limes maintain, and at the expiration or termination of the Lease ‘Term re-deliver, the
Equipment in accordance with the following provisions:

General Condition. The Equipment must be able to pass Federal Highway Administration inspection. The Equipment shall be
structurally sound with no material structural or mechanical damage. in goud ovcrall appearance. clean and cosmetically acceptable to
Lessor, with no missing or damaged parts. ordinary wear and tear caccpted.

The Equipment shall be free of all rust and corrosion. No glass shall be broken or cracked. no upholstery shall have any cuts or bums
and there shall be no physical damage to eateriur or interior materials from normal use that exceeds $250 in the aggregate and no
physical damage from accidents.

Upon retum. all items of Equipment shall be completely de-identified. including but not limited to all commercial logos, advertising,
graffiti, Lessee insignia and lettering. The de-identifted surfaces shall be repaired and refinished in such o way that the arca blends in
with the remainder of the item's ovcrall appearance. Manufacturer's identity plates and markings shall not be removed or obscured.

Fuel tanks must be af least twenty-five percent (259%) full.

Documents and Records. Written records of scheduled and other maintenance and repair work done shall be kept, dated, und signed
by the appropriate authority. A service history or log will be maintained during the Lease Term. in English, and o copy provided to
Lessor upon request during the Lease Term, or at the expiration or other termination (by acceleration or otherwise) of the Lease, All
maintenance records. maintenance record jackets. repair jackets. repair orders, license plates. registration cenificates and all uther
similar documents, in their entirety. musi be retumed to Lessor.

Lires. Alt tires shall be matched on cach item of Equipment by the same ivpe and tread design, original size, and manufacturer, and
have a minimum of 12/32 inch of remaining tread depth. All front tires shall be original casings, One-time only recapped rear tires are
acceptable provided that they comply with DOT requirements. All tires shall be frec of flat or bald spots, cupping, dry rot, cuts and
exposed cords.

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Case 20-10553-CSS Doc 1008-6 Filed 09/30/20 Page 7 of 7

Annex 1] - Supplemental Maintenance and Retum Conditions
Page 2

Mechanical Power Train. Lessee shall repair to Lessor’s reasonable satisfaction any item of Equipment which has engine knock, is
smoking, is misfiring. has abnormal engine vibration. or leakage. ‘There shall be no cracked cylinder heads or engine blocks. excess
blow-by. exhaust system lcakage or cil leakage:/the transmission and rear axles shall be capable of pulling loads to their full rated
capacity: there shall be no transmission. drive axle or wheel hub oil leaks and there shall be no slipping or grabbing clutch.

An In-Frame engine rebuild is required at 500.000 miles for small block engines and at 800,000 miles for large block cngines. All
clectronic engines must have the password removed prior to lum-in,

Brpkes. Brake drims and linings shall not be cracked and shall not cxcecd manufacturer's recommended wear fimits. Brake linings
on cach item of Equipment shail have a minimum of 3/8 inch of remaining wear on cach lining.

Barteries ond Electrical System. Batteries must be capable of staring the [:quipment unassisted and of holding a charge. Electrical
system (including lighting} must be fully operational.

Maintenance. Lessee shall strictly follow the manufacturer's recommended maintenance and service schedule, as required to validate
any warranty. at Lessee’s sole cost and expense. Any maintenance or repair work shall comply with the guidelines and procedures us
specified by the manufacturers of the Equipment or cach component of the Equipment. Lessee will use only original manufacturer's
approved replacement parts and components in the performance of any mainicnance and repair of the Equipment. Lessce will ot all!
limes maintain the Equipment in good operational condition and appearance, and shall not discriminate in such maintenance between
owned or leased Equipment.

Mileage. Average annual mileage. in the aggregate. for each unit shall not exceed 34,000 miles. Should mileage exceed this limit,
Lessee agrees to pay a mileage surcharge of five cents ($0.05) per mile in excess of this mileage limit.

Mandatory Alterations. Changes. modifications or additions to the Equipment mandated by Federal, state or local authorities wilt be
completed by, and at the sole cost and expense of. Lessee and shall automatically be deemed the property of Lessor.

Pre-Surrender_ Inspection. Prior to any surrender of the Equipment. an in depth physical inspection will be conducted by aon
appropriate manufacturer's scrvice representalive(s) or independent service organization on behalf of and sclected by Lessor, and paid
for by Lessee. Any part, component or function found not to be within the manufacturer's tolerances and operational specifications
will be replaced or brought within those tolerances and specilications to the satislaction of Lessor, at the sole cost and expense of
Lessee.

 
